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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA


Rachel Jonkman,

         Plaintiff,
vs.                                            Case No. 0:22-cv-281

The Prudential Insurance Company
of America,                                    COMPLAINT

         Defendant.




Plaintiff, for her Complaint against Defendant, states and alleges:

      1. This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331

and 29 U.S.C. § 1132(e)(1) and (f) of the Employee Retirement Income

Security Act of 1974 (“ERISA”) over this claim for disability benefits under a

plan governed by ERISA, 29 U.S.C. § 1001 et seq.

      2. Venue is proper in this district pursuant to 29 U.S.C. § 1132 (e)(2) 1,

because The Prudential Insurance Company of America may be found in this

district. In particular, The Prudential Insurance Company of America is

registered as a corporation with the State of Minnesota, conducts ongoing



1
 29 U.S.C. § 1132 (e)(2) states “Where an action under this subchapter is
brought in a district court of the United States, it may be brought in the district …
where a defendant resides or may be found…”
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business with Minnesota residents, employs Minnesota residents, has extensive

contacts within Minnesota, and accordingly is found within Minnesota.

     3. On information and belief, Defendant The Prudential Insurance

Company of America insures the employee benefit plan (“Plan”) that Bon

Secours Health System, Inc. created and maintains to provide its employees

with income protection should they become disabled.

     4. On information and belief, Defendant The Prudential Insurance

Company of America is a corporation organized and existing under the laws of

the State of New Jersey, and is the insurer and claims administrator for the

Plan.

     5. Plaintiff is a resident and citizen of the United States, an employee of

Bon Secours Health System, Inc. and a participant in the Plan.

     6. As set forth in 29 U.S.C. § 1133 of the ERISA statute, the Plan provides

a mechanism for administrative appeals of benefit denials. Plaintiff has

exhausted all such appeals.

     7. On information and belief, Plaintiff was covered at all relevant times

under group disability policy number G-51293-MD which was issued by The

Prudential Insurance Company of America to Bon Secours Health System, Inc.

to insure the participants of the Plan. A copy of the policy is attached as Exhibit

A.



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    8. On information and belief, The Prudential Insurance Company of

America both funds the Plan and decides whether participants will receive

benefits under the Plan. Accordingly, The Prudential Insurance Company of

America has a conflict of interest, which must be considered when determining

whether its denial of Plaintiff’s benefits was proper. 2

    9. The Prudential Insurance Company of America’s interest in protecting its

own assets influenced its decision to deny Plaintiff’s application for disability

benefits.

    10.        The Plan is an ERISA welfare benefit plan.

    11.        Under the Plan, a participant who meets the definition of

“disabled” is entitled to disability benefits paid out of the Plan assets.

    12.        Under the Plan, participants meeting the definition of “disabled”

are also eligible for continuation of life insurance coverage, and a waiver of

premiums for such life insurance coverage.




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  “[A]n entity that is both the claims administrator and payor of benefits has a
conflict of interest.” Jones v. Mountaire Corp. Long Term Disability Plan, 542
F. 3d 234, 240 (8th Cir. 2008). Moreover, as the Supreme Court has held, “that
conflict must be weighed as a factor in determining whether there is an abuse
of discretion.” Metro. Life Ins. Co. v. Glenn, 128 S. Ct. 2343, 2348 (2008)
(emphasis added).

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   13.      Plaintiff became disabled under the terms of the Plan’s policy on or

about April 20, 2018 and continues to be disabled as defined by the Plan.

Accordingly, Plaintiff is entitled to benefits under the terms of the Plan.

   14.      Plaintiff submitted a timely claim to The Prudential Insurance

Company of America for disability benefits.

   15.      The Prudential Insurance Company of America granted Plaintiff’s

claim for disability benefits, and paid Plaintiff benefits until January 31, 2021.

However, on February 1, 2021 The Prudential Insurance Company of America

cancelled Plaintiff’s disability benefits. Plaintiff appealed The Prudential

Insurance Company of America’s decision, but The Prudential Insurance

Company of America denied Plaintiff’s appeal on October 22, 2021.

   16.      Plaintiff provided The Prudential Insurance Company of America

with substantial medical evidence demonstrating she was eligible for disability

benefits.

   17.      The medical evidence Plaintiff provided demonstrated Plaintiff was

unable to work, even in a sedentary job, because Plaintiff could not sustain

sedentary exertion throughout a full-time work schedule.

   18.      The Prudential Insurance Company of America’s decision to deny

disability benefits was arbitrary, capricious, unreasonable, irrational, wrongful,




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contrary to the terms of the Plan, contrary to the evidence and contrary to law,

as demonstrated by the following non-exhaustive examples:

         a. The Prudential Insurance Company of America failed to have

            Plaintiff independently examined, and instead relied on the opinion

            of a medical professional who merely reviewed Plaintiff’s medical

            records and rejected the opinion of Plaintiff’s treating physician;

         b. The Prudential Insurance Company of America relied on the

            opinion of a medical professional who was financially biased by

            his/her relationship with The Prudential Insurance Company of

            America and as such unable to offer an unbiased opinion;

         c. The Prudential Insurance Company of America relied on the

            opinion of a medical professional that was not supported by

            substantial evidence in the claim file, and was inconsistent with the

            overall evidence in the record;

         d. The Prudential Insurance Company of America relied on the

            opinion of a medical professional who was not qualified to refute

            the findings of Plaintiff’s physicians;

         e. The Prudential Insurance Company of America ignored obvious

            medical evidence and took selective evidence out of context as a

            means to deny Plaintiff’s claim;



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         f. The Prudential Insurance Company of America ignored and/or

            misrepresented the opinions of Plaintiff’s treating physicians.

   19.       The Prudential Insurance Company of America abused its

discretion in denying Plaintiff’s claim.

   20.      The decision to deny benefits was wrong under the terms of the

Plan.

   21.      The decision to deny benefits was not supported by substantial

evidence in the record.

   22.      The Prudential Insurance Company of America’s failure to provide

benefits due under the Plan constitutes a breach of the Plan.

   23.      The Prudential Insurance Company of America’s failure to provide

Plaintiff with disability benefits has caused Plaintiff to be deprived of those

benefits from February 1, 2021 to the present. Plaintiff will continue to be

deprived of those benefits, and accordingly will continue to suffer future

damages in an amount to be determined.

   24.      The Prudential Insurance Company of America’s denial of benefits

under the Plan has caused Plaintiff to incur attorneys’ fees and costs to pursue

this action. Pursuant to 29 U.S.C. § 1132(g)(1), Defendants should pay these

costs and fees.




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   25.        A dispute now exists between the parties over whether Plaintiff

meets the definition of “disabled” under the terms of the Plan. Plaintiff requests

that the Court declare she fulfills the Plan’s definition of “disabled,” and is

accordingly entitled to all benefits available under the Plan. Plaintiff further

requests reimbursement of all expenses and premiums she paid for benefits

under the Plan from the time of termination of benefits to the present. In the

alternative of the aforementioned relief, Plaintiff requests that the Court remand

and instruct The Prudential Insurance Company of America to adjudicate

Plaintiff’s claim in a manner consistent with the terms of the Plan.

      WHEREFORE, Plaintiff respectfully requests the following relief against

Defendants:

   1. A finding in favor of Plaintiff against Defendants;

   2. Pursuant to 29 U.S.C. § 1132(a)(1)(B), damages in the amount equal to

      the disability income benefits to which Plaintiff is entitled through the

      date of judgment;

   3. Prejudgment and postjudgment interest, calculated from each payment’s

      original due date through the date of actual payment;

   4. Any Plan benefits beyond disability benefits that Plaintiff is entitled to

      while receiving disability benefits, including but not limited to




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     reinstatement of Plaintiff’s life insurance coverage and a waiver of

     premiums;

  5. Reimbursement of all expenses and premiums Plaintiff paid for benefits

     under the Plan from the time of termination of benefits to the present.

  6. A declaration that Plaintiff is entitled to ongoing benefits under the Plan

     so as long as Plaintiff remains disabled under the terms of the Plan;

  7. Reasonable costs and attorneys’ fees incurred in this action;

  8. Any other legal or equitable relief the Court deems appropriate.




Dated: 01/31/2022                    RESPECTFULLY SUBMITTED,

                                     By: /s/ Merrick Williams

                                     Merrick Williams (MN Bar # 0300664)
                                     Zachary Schmoll (MN Bar # 0396093)
                                     FIELDS LAW FIRM
                                     9999 Wayzata Blvd
                                     Minnetonka, MN 55305
                                     Office: 612-370-1511
                                     Merrick@Fieldslaw.com
                                     Zach@Fieldslaw.com


                                     Attorneys for Plaintiffs




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